 Case 2:21-bk-10826-BB         Doc 429 Filed 08/19/21 Entered 08/19/21 14:42:08                 Desc
                                Main Document     Page 1 of 5


 1   MARK SHINDERMAN (State Bar No. 136644)
     mshinderman@milbank.com
 2   WILLIAM SCHUMACHER (State Bar No. 303862)
     wschumacher@milbank.com
 3   MOHAMMAD TEHRANI (State Bar No. 294569)
     mtehrani@milbank.com
 4   MILBANK LLP
     2029 Century Park East, 33rd Floor
 5   Los Angeles, CA 90067
     Telephone:    (424) 386-4000
 6   Facsimile:    (213) 629-5063

 7   Proposed Attorneys for Robert Kors,
     the Chapter 11 Trustee
 8
                                UNITED STATES BANKRUPTCY COURT
 9
                 CENTRAL DISTRICT OF CALIFORNIA—LOS ANGELES DIVISION
10

11
     In re:                                                   Case No. 2:21-bk-10826-BB
12
     KFIR GAVRIELI,                                           Chapter 11
13
                                                              NOTICE OF: (I) DATE BY WHICH
14                                                            PROFESSIONALS ARE REQUIRED TO
                            Debtor.                           FILE FINAL FEE APPLICATIONS;
15                                                            AND (II) HEARING ON FINAL AND
                                                              INTERIM FEE APPLICATIONS
16
                                                               Hearing:
17                                                             Date: October 13, 2021
                                                               Time: 10:00 a.m.
18                                                             Place: United States Bankruptcy Court
                                                                      255 East Temple Street
19                                                                    Courtroom 1539
                                                                      Los Angeles, California 90012
20

21            PLEASE TAKE NOTICE that Robert Kors, the chapter 11 trustee (the “Trustee”) appointed

22   in the above-captioned chapter 11 bankruptcy case, requested that the Court: (i) set a deadline for the

23   filing of final applications for the allowance of fees and reimbursement of expenses pursuant to 11

24   U.S.C. § 330 (the “Final Application”); (ii) set a hearing date on the Final Applications for (a) estate

25   professionals that have been previously retained in this case (the “Professionals”) by either the debtor,

26   Kfir Gavrieli (the “Debtor”), or by the predecessor trustee, Sara L. Chenetz (the “Predecessor

27   Trustee”) and (b) for the Predecessor Trustee; and (iii) set a hearing date on interim applications for

28   the allowance of fees and reimbursement of expenses pursuant to 11 U.S.C. § 330 for the professionals
 Case 2:21-bk-10826-BB        Doc 429 Filed 08/19/21 Entered 08/19/21 14:42:08                Desc
                               Main Document     Page 2 of 5


 1   employed by the Official Committee of Unsecured Creditors (the “Committee Professionals”) and any

 2   other professionals previously retained pursuant to a Court order.

 3          PLEASE TAKE FURTHER NOTICE that the Professionals and Predecessor Trustee are

 4   required to file their respective Final Applications on or before September 17, 2021. The Final

 5   Applications may request final allowance of fees and expenses for the period from February 1, 2021,

 6   through July 28, 2021, plus such additional fees and expenses as are incurred after July 28, 2021 in

 7   preparing each Professional’s Final Application.

 8          PLEASE TAKE FURTHER NOTICE that the Court will consider the Final Applications at

 9   10:00 a.m. on Wednesday, October 13, 2021 (the “Hearing”), in Courtroom 1539, 255 East Temple

10   Street, Los Angeles, California 90012.

11          PLEASE TAKE FURTHER NOTICE that the Committee Professionals and any other

12   professionals previously retained pursuant to a Court order may also seek approval of interim fees and

13   expenses at the Hearing, provided that such professionals file and serve their interim fee applications

14   in accordance with all applicable rules. Unless otherwise ordered by the Court, hearings on interim

15   fee applications will not be scheduled less than 120 days apart.

16          PLEASE TAKE FURTHER NOTICE that any objections to any Final Application and any

17   interim fee application must be in the form required by Local Bankruptcy Rules 9013-1(f) and (o) and

18   filed with the Clerk of the above-captioned Court, the Trustee, and the requesting Professional or

19   Committee Professional at least 14 days prior to the Hearing. The failure to file a timely objection or

20   other responsive pleading to the Final Applications or interim fee applications may be deemed

21   acceptance of the relief requested, as set forth in Local Bankruptcy Rules 2016-1(a)(3), 2016-1(c)(5),

22   and 9013-1(f).

23
     Dated: August 19, 2021                             MILBANK LLP
24

25                                                      /s/ Mark Shinderman
                                                        MARK SHINDERMAN
26                                                      WILLIAM SCHUMACHER
                                                        MOHAMMAD TEHRANI
27
                                                        Proposed Attorneys for Robert Kors,
28                                                      the Chapter 11 Trustee

                                                        2
 Case 2:21-bk-10826-BB         Doc 429 Filed 08/19/21 Entered 08/19/21 14:42:08                 Desc
                                Main Document     Page 3 of 5


 1                                PROOF OF SERVICE OF DOCUMENT

 2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
     business address is: 2029 Century Park E, 33rd Floor, Los Angeles, CA 90067. A true and correct
 3   copy of the foregoing document entitled: Notice of: (I) Date by Which Professionals Are Required to
     File Final Fee Applications; and (II) Hearing on Final and Interim Fee Applications will be served
 4   or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
     (b) in the manner stated below:
 5
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
 6   Pursuant to controlling General Orders and LBR, the foregoing document will be served by the court
     via NEF and hyperlink to the document. On August 19, 2021, I checked the CM/ECF docket for this
 7   bankruptcy case or adversary proceeding and determined that the following persons are on the
     Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
 8
           Service information continued on attached page
 9
     2. SERVED BY UNITED STATES MAIL: On August 19, 2021, I served the following persons
10   and/or entities at the last known addresses in this bankruptcy case or adversary proceeding by
     placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
11   postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
     mailing to the judge will be completed no later than 24 hours after the document is filed.
12
      Kfir Gavrieli
13    1171 Montana Avenue #215
      Los Angeles CA 90049
14
           Service information continued on attached page
15
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
16   TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant to
     F.R.Civ.P. 5 and/or controlling LBR, on August 19, 2021, I served the following persons and/or
17   entities by personal delivery, overnight mail service, or (for those who consented in writing to such
     service method), by facsimile transmission and/or email as follows. Listing the judge here
18   constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed
     no later than 24 hours after the document is filed.
19

20    BY OVERNIGHT MAIL:
      Honorable Sheri Bluebond
21    USBC - Central District of California
      255 E. Temple Street
22    Suite 1534 / Courtroom 1539
      Los Angeles, CA 90012
23
           Service information continued on attached page
24
     I declare under penalty of perjury under the laws of the United States that the foregoing is true and
25   correct.

26     August 19, 2021      William Schumacher                         /s/ William Schumacher
       Date                  Printed Name                              Signature
27

28
 Case 2:21-bk-10826-BB      Doc 429 Filed 08/19/21 Entered 08/19/21 14:42:08      Desc
                             Main Document     Page 4 of 5


 1                                       SERVICE LIST
                                           (Via NEF)
 2

 3   William H Brownstein            Brownsteinlaw.bill@gmail.com
     Eryk R Escobar                  eryk.r.escobar@usdoj.gov
 4   William N Lobel                 wlobel@tocounsel.com, jokeefe@tocounsel.com;
                                     sschuster@tocounsel.com
 5   Kerri A Lyman                   klyman@steptoe.com, #-FirmPSDocketing@Steptoe.com;
                                     nmorneault@Steptoe.com; mhernandez@steptoe.com;
 6
                                     aodonnell@steptoe.com
 7   Jeffrey M. Reisner              jreisner@steptoe.com, #-FirmPSDocketing@Steptoe.com;
                                     klyman@steptoe.com; nmorneault@Steptoe.com
 8   Najah J Shariff                 najah.shariff@usdoj.gov, USACAC.criminal@usdoj.gov
     United States Trustee (LA)      ustpregion16.la.ecf@usdoj.gov
 9   Johnny White                    JWhite@wrslawyers.com, aparisi@wrslawyers.com;
10                                   eweiman@wrslawyers.com; chamilton@wrslawyers.com
     Richard Lee Wynne               richard.wynne@hoganlovells.com;
11                                   tracy.southwell@hoganlovells.com;
                                     cindy.mitchell@hoganlovells.com; rick-wynne-
12                                   7245@ecf.pacerpro.com
     Edward J McNeilly               edward.mcneilly@hoganlovells.com
13
     Peter Gilhuly                   peter.gilhuly@lw.com
14   Amy Quartarolo                  amy.quartarolo@lw.com, laura.pumerville@lw.com; amy-
                                     quartarolo2972@ecf.pacerpro.com
15   Daniel S Schecter               daniel.schecter@lw.com
     Sara Chenetz                    schenetz@perkinscoie.com; dlax@perkinscoie.com;
16
                                     cmallahi@perkinscoie.com; chenetz-sara-perkins-coie-
17                                   8670@ecf.pacerpro.com

18

19

20

21

22

23

24

25

26

27

28                                            2
 Case 2:21-bk-10826-BB    Doc 429 Filed 08/19/21 Entered 08/19/21 14:42:08        Desc
                           Main Document     Page 5 of 5


 1                                      SERVICE LIST
                                          (Via Email)
 2

 3   Force Ten Partners LLP          mvanderley@force10partners.com,
                                     ckurtz@force10partners.com, jmiller@force10partners.com
 4   Hochman Salkin Toscher Perez toscher@taxlitigator.com, stein@taxlitigator.com,
     P.C.                            SHT@taxlitigator.com
 5   Holland & Hart, LLP             SATensmeyer@hollandhart.com, gmsaylin@hollandhart.com
     Hueston Hennigan LLP            mcamp@hueston.com, alibeu@hueston.com,
 6
                                     apetasis@hueston.com, scoit@hueston.com
 7   KGI Advisors, Inc.              sgreen@kginc.com, gseli@kginc.com
     Krost, CPAs & Consultants       admin@krostcpas.com, greg.kniss@krostcpas.com,
 8                                   robert.gosart@krostcpas.com
     Law Offices of A. Lavar Taylor, ltaylor@taylorlaw.com, lnelson@taylorlaw.com,
 9   LLP                             jamitrano@taylorlaw.com
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                            3
